        Case 1:21-mi-55555-JPB Document 449 Filed 03/02/23 Page 1 of 3




               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

  IN RE GEORGIA SENATE BILL 202                  MASTER CASE No.
                                                 1:21-MI-55555-JPB


           PLAINTIFFS’ RULE 5.4 CERTIFICATE OF SERVICE

      Pursuant to Fed. R. Civ. P. 30 and LR 5.4 and 26.3(C), NDGa, undersigned

counsel hereby certify that on February 19, 2023, they caused Consolidated

Plaintiffs in the above-captioned case to serve their JOINT NOTICE OF RULE

30(b)(6)   DEPOSITION       OF    INTERVENOR-DEFENDANT             GEORGIA

REPUBLICAN PARTY, INC. upon counsel of record for all parties in this matter

via electronic mail.




                                      1
      Case 1:21-mi-55555-JPB Document 449 Filed 03/02/23 Page 2 of 3




Dated: March 2, 2023                Respectfully submitted,

/s/ Adam M. Sparks                  /s/ Uzoma N. Nkwonta
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                                    2
        Case 1:21-mi-55555-JPB Document 449 Filed 03/02/23 Page 3 of 3




                          CERTIFICATE OF SERVICE

      I hereby certify that I have on this date electronically filed the foregoing

PLAINTIFFS’ RULE 5.4 CERTIFICATE OF SERVICE with the Clerk of Court

using the CM/ECF system, which will automatically send e-mail notification of such

filing to counsel of record.

 Dated: March 2, 2023                    /s/ Adam M. Sparks
                                         Counsel for Plaintiffs
